            Case 6:24-bk-02486-GER                 Doc 1129         Filed 09/05/24         Page 1 of 41

                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov

 IN RE:                                                                   Chapter 11 Cases

 RED LOBSTER MANAGEMENT LLC,1                                             Case No. 6:24-bk-02486-GER
 RED LOBSTER RESTAURANTS LLC,                                             Case No. 6:24-bk-02487-GER
 RLSV, INC.,                                                              Case No. 6:24-bk-02488-GER
 RED LOBSTER CANADA, INC.,                                                Case No. 6:24-bk-02489-GER
 RED LOBSTER HOSPITALITY LLC,                                             Case No. 6:24-bk-02490-GER
 RL KANSAS LLC,                                                           Case No. 6:24-bk-02491-GER
 RED LOBSTER SOURCING LLC,                                                Case No. 6:24-bk-02492-GER
 RED LOBSTER SUPPLY LLC,                                                  Case No. 6:24-bk-02493-GER
 RL COLUMBIA LLC,                                                         Case No. 6:24-bk-02494-GER
 RL OF FREDERICK, INC.,                                                   Case No. 6:24-bk-02495-GER
 RED LOBSTER OF TEXAS, INC.,                                              Case No. 6:24-bk-02496-GER
 RL MARYLAND, INC.,                                                       Case No. 6:24-bk-02497-GER
 RED LOBSTER OF BEL AIR, INC.,                                            Case No. 6:24-bk-02498-GER
 RL SALISBURY, LLC,                                                       Case No. 6:24-bk-02499-GER
 RED LOBSTER INTERNATIONAL HOLDINGS LLC,                                  Case No. 6:24-bk-02500-GER

                  Debtors                                                 (Jointly Administered)

                                                                          Ref. Docket Nos. 1083-1084,
                                                                          1086-1097, 1100-1102, 1104-1107,
                                                                          1110 & 1111


                                        CERTIFICATE OF SERVICE
I, JENNIFER NOBLE, hereby certify that:
1. I am employed as a Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the age
   of eighteen years and am not a party to the above-captioned action.




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply LLC
(9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants LLC (4308); RL
Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland, Inc. (7185); Red
Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster Canada, Inc.
(4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located at 450 S.
Orange Avenue, Suite 800, Orlando, FL 32801.
          Case 6:24-bk-02486-GER        Doc 1129      Filed 09/05/24   Page 2 of 41




2. On September 3, 2024, I caused to be served the:

   a. “Debtors’ Response in Opposition Tara Richardson’s Motion for Relief from Stay to
      Proceed Against Available Insurance,” dated September 3, 2024 [Docket No. 1083], (the
      “Response”),

   b. “Debtors’ Ex Parte Motion to Allow Linc Rogers of Blake, Cassels & Graydon LLP, as
      Special Counsel, to Appear Via Zoom at the September 5, 2024 Hearing ,” dated
      September 3, 2024 [Docket No. 1084], (the “Rogers Motion”),

   c. “Order Sustaining Debtors’ Second Omnibus Objection to Certain Claim (Priority Wage
      Claims),” dated September 3, 2024 [Docket No. 1086], (the “2nd Objection Order”),

   d. “Order Sustaining Debtors’ First Omnibus Objection to Certain Claims (Deferred
      Compensation Claims),” dated September 3, 2024 [Docket No. 1087], (the “1st Objection
      Order”),

   e. “Order Granting Debtors’ Ex Parte Motion to Allow Linc Rogers of Blake, Cassels &
      Graydon LLP, as Special Counsel, to Appear Via Zoom at the September 5, 2024
      Hearing,” dated September 3, 2024 [Docket No. 1088], (the “Rogers Order”),

   f. “Order Sustaining Debtors’ Objection to the Claim No. 11409,” dated September 3, 2024
      [Docket No. 1089], (the “Claim No. 11409 Order”),

   g. “Agreed Order Granting Debtors’ Agreed Ex Parte Motion to Continue Claim Objection
      Hearing to October 1, 2024, at 10:00 A.M.,” dated September 2, 2024 [Docket No. 1090],
      (the “Continued Hearing Order”),

   h. “Order Sustaining Debtors’ Objection to Claim No. 872,” dated September 3, 2024
      [Docket No. 1091], (the “Claim No. 872 Order”),

   i.   “Order Sustaining Debtors’ Objection to Claim No. 10746 Filed by Silverbel
        Landscaping & Snowplowing Ltd.,” dated September 3, 2024 [Docket No. 1092], (the
        “Silverbel Order”),

   j.   “Order Sustaining Debtors’ Third Omnibus Objection to Certain Claims (§ 507(a)(7)
        Priority Claims),” dated September 3, 2024 [Docket No. 1093], (the “3 rd Objection
        Order”),

   k. “Order Sustaining Debtors’ Fourth Omnibus Objection to Certain Claims (§ 503(b)(9)
      Administrative Expense Claims),” dated September 3, 2024 [Docket No. 1094], (the “4th
      Objection Order”),
       Case 6:24-bk-02486-GER        Doc 1129     Filed 09/05/24     Page 3 of 41




l.   “Order Sustaining Debtors’ Fifth Omnibus Objection to Certain Claims (Duplicate
     Claims),” dated September 3, 2024 [Docket No. 1095], (the “5th Objection Order”),

m. “Order Sustaining Debtors’ Seventh Omnibus Objection to Certain Claims (§ 507(a)
   Misclassified Claims - Other),” dated September 3, 2024 [Docket No. 1096], (the “7th
   Objection Order”),


n. “Order Sustaining Debtors’ Objection to Claim Nos. 10267, 10268 and 10269 Filed by
   Edward Brachman and/or Leora Friedman,” dated September 3, 2024 [Docket No. 1097],
   (the “Brachman Order”),

o. “Joint Motion of the Debtors and MP2 Energy NE LLC d/b/a Shell Energy Solutions for
   the Entry of an Order Resolving Cure Objection,” dated September 3, 2024 [Docket No.
   1100], (the “MP2 Motion”),

p. “Declaration of Emily Young, on Behalf of Epiq Corporate Restructuring, LLC,
   Regarding Solicitation and Tabulation of Ballots Cast on Joint Chapter 11 Plan for
   Red Lobster Management LLC and its Debtor Affiliates,” dated September 3, 2024
   [Docket No. 1101], (the “Young Declaration”),

q. “Memorandum of Law in Reply to Objections to Confirmation of Debtors’ Amended
   Joint Chapter 11 Plan,” dated September 3, 2024 [Docket No. 1102], (the
   “Memorandum”),

r. “Supplement to First and Final Application for Allowance and Payment of Compensation
   and Reimbursement of Expenses of King & Spalding LLP, as Counsel to the Debtors,”
   dated September 3, 2024 [Docket No. 1104], (the “King Application”),

s. “Debtors’ September 3, 2024 Status Report Regarding Cure Objections,” dated
   September 3, 2024 [Docket No. 1105], (the “Status Report”),

t.   “Supplement to First and Final Application of Berger Singerman LLP for Compensation
     for Services Rendered and Reimbursement of Expenses as Co-Counsel to the Debtors, for
     Period of August 20, 2024, Through September 2, 2024,” dated September 3, 2024
     [Docket No. 1106], (the “Berger Singerman Application”),

u. “Supplement to the Final Application of Alvarez & Marsal North America, LLC, for the
   Allowance and Payment of Fees and Expenses,” dated September 3, 2024 [Docket No.
   1107], (the “Alvarez Application”),

v. “Debtors’ Witness List in Connection with September 5, 2024, Confirmation Hearing,”
   dated September 3, 2024 [Docket No. 1110], (the “Witness List”), and
         Case 6:24-bk-02486-GER              Doc 1129   Filed 09/05/24     Page 4 of 41




   w. “Supplement to First and Final Application for Compensation for Services Rendered and
      Reimbursement of Expenses of Blake, Cassels & Graydon LLP, as Special Counsel to the
      Debtors,” dated September 3, 2024 [Docket No. 1111], (the “Blakes Application”),

by causing true and correct copies of the:

         i. Response, Rogers Motion, 2nd Objection Order, 1st Objection Order, Rogers Order,
            Claim No. 11409 Order, Continued Hearing Order, Claim No. 872 Order, Silverbel
            Order, 3 rd Objection Order, 4 th Objection Order, 5 th Objection Order, 7th Objection
            Order, Brachman Order, MP2 Motion, Young Declaration, Memorandum, King
            Application, Status Report, Berger Singerman Application, Alvarez Application,
            Witness List, and Blakes Application to be enclosed securely in separate postage pre-
            paid envelopes and delivered via first class mail to those parties listed on the annexed
            Exhibit A,

        ii. Response to be enclosed securely in a postage pre-paid envelope and delivered via
            first class mail to the party listed on the annexed Exhibit B,

       iii. Claim No. 11409 Order to be enclosed securely in a postage pre-paid envelope and
            delivered via first class mail to the party listed on the annexed Exhibit C,

       iv. Continued Hearing Order to be enclosed securely in a postage pre-paid envelope and
           delivered via first class mail to one party whose name and address are confidential and
           therefore not included,

        v. Claim No. 872 Order to be enclosed securely in a postage pre-paid envelope and
           delivered via first class mail to one party whose name and address are confidential and
           therefore not included,

       vi. Silverbel Order to be enclosed securely in a postage pre-paid envelope and delivered
           via first class mail to the party listed on the annexed Exhibit D,

       vii. 3rd Objection Order to be enclosed securely in separate postage pre-paid envelopes
            and delivered via first class mail to those parties listed on the annexed Exhibit E, and
            to one party whose name and address are confidential and therefore not included,

      viii. 4th Objection Order to be enclosed securely in separate postage pre-paid envelopes
            and delivered via first class mail to those parties listed on the annexed Exhibit F, and
            to one party whose name and address are confidential and therefore not included,

       ix. 5th Objection Order to be enclosed securely in separate postage pre-paid envelopes
           and delivered via first class mail to those parties listed on the annexed Exhibit G,

        x. 7th Objection Order to be enclosed securely in separate postage pre-paid envelopes
           and delivered via first class mail to those parties listed on the annexed Exhibit H,
         Case 6:24-bk-02486-GER          Doc 1129      Filed 09/05/24     Page 5 of 41




       xi. Brachman Order to be enclosed securely in separate postage pre -paid envelopes and
           delivered via first class mail to those parties listed on the annexed Exhibit I,

      xii. MP2 Motion to be enclosed securely in separate postage pre-paid envelopes and
           delivered via first class mail to those parties listed on the annexed Exhibit J,

      xiii. Status Report to be enclosed securely in separate postage pre-paid envelopes and
            delivered via first class mail to those parties listed on the annexed Exhibit K,

      xiv. Response, Rogers Motion, 2nd Objection Order, 1st Objection Order, Rogers Order,
           Claim No. 11409 Order, Continued Hearing Order, Claim No. 872 Order, Silverbel
           Order, 3 rd Objection Order, 4 th Objection Order, 5 th Objection Order, 7th Objection
           Order, Brachman Order, MP2 Motion, Young Declaration, Memorandum, King
           Application, Status Report, Berger Singerman Application, Alvarez Application,
           Witness List, and Blakes Application to be delivered via electronic mail to those
           parties listed on the annexed Exhibit L,

       xv. MP2 Motion to be delivered via electronic mail to those parties listed on the annexed
           Exhibit M,

      xvi. Status Report to be delivered via electronic mail to those parties listed on the annexed
           Exhibit N, and

     xvii. Response to be delivered via electronic mail to: ratnala@ratnalalaw.com.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT, OR LEGAL DEPARTMENT.”

                                                                       /s/ Jennifer Noble
                                                                       Jennifer Noble
Case 6:24-bk-02486-GER    Doc 1129   Filed 09/05/24   Page 6 of 41




                         EXHIBIT A
                                                    RED LOBSTER
                       Case 6:24-bk-02486-GER        Doc 1129 Filed 09/05/24
                                                     Service List
                                                                                        Page 7 of 41

Claim Name                               Address Information
ALABAMA DEPT OF REVENUE                  50 N RIPLEY ST MONTGOMERY AL 36130
ALASKA DEPT OF REVENUE                   550 W 7TH AVE STE 500 ANCHORAGE AK 99501-3555
ARIZONA DEPT OF REVENUE                  1600 W. MONROE PHOENIX AZ 85007-2650
CALIFORNIA FRANCHISE TAX BOARD           PO BOX 942857 SACRAMENTO CA 94267-0001
CONNECTICUT DEPT OF REVENUE SERVICES     450 COLUMBUS BLVD., STE 1 HARTFORD CT 06103
COSTA DO SOESTO LLC                      ATTN: PABLO GUSTAVO LEIS, MANAGER C/O WILLIAM H ALBORNOZ PA 901 PONCE DE LEON
                                         BLVD., SUITE 204 CORAL GABLES FL 33134-3070
CURTIS R BARTELLS                        ADDRESS ON FILE
DC OFFICE OF TAX AND REVENUE             1101 4TH STREET, SW SUITE 270 WEST WASHINGTON DC 20024
DELAWARE DIVISION OF REVENUE             820 N FRENCH ST WILMINGTON DE 19801
ENTERPRISE FLEET MANAGEMENT CANADA INC   709 MILNER AVE SCARBOROUGH ON M1B 6B6 CANADA
ENTERPRISE FLEET MANAGEMENT CANADA INC   77 BELFIELD RD, STE 100 TORONTO ON M9W 1G6 CANADA
FAR HORIZONS TRAILER VILLAGE LLC         ATTN: CHARLES HAYS JR, PARTNER 7682 CALLAWAY DR RANCHO MURIETA CA 95683-9268
GEORGIA DEPT OF REVENUE                  1800 CENTURY CENTER BLVD., NE STE 12000 ATLANTA GA 30345-3205
GREATAMERICAN FINANCIAL SERVICES CORP    625 FIRST ST CEDAR RAPIDS IA 52401
HAWAII DEPT OF TAXATION                  DIRECTOR OF TAXATION ROOM 221 830 PUNCHBOWL STREET HONOLULU HI 96813-5094
ILLINOIS DEPT OF REVENUE                 WILLARD ICE BLDG 101 W JEFFERSON ST. SPRINGFIELD IL 62702
INDIANA DEPARTMENT OF REVENUE            100 N SENATE IGCN RM N105 INDIANAPOLIS IN 46204
INTERNAL REVENUE SERVICE                 PO BOX 7346 PHILADELPHIA PA 19101-7346
IOWA DEPT OF REVENUE                     1305 E WALNUT ST, 4TH FL DES MOINES IA 50319
KENTUCKY DEPARTMENT OF REVENUE           501 HIGH ST, STATION 38 FRANKFORT KY 40601-2103
LOUISIANA DEPARTMENT OF REVENUE          617 N THIRD ST BATON ROUGE LA 70802
LUXONE LLC                               ATTN: MIRCEA VOSKERICIAN, OWNER 572 CHIMALUS DR PALO ALTO CA 94306
MARYLAND OFFICE OF THE COMPTROLLER       REVENUE ADMINISTRATION CENTER TAXPAYER SERVICES DIVISION 110 CARROL ST
                                         ANNAPOLIS MD 21411-0001
MASSACHUSETTS DEPT OF REVENUE            DIVISION OF LOCAL SERVICES 100 CAMBRIDGE ST, 6TH FL BOSTON MA 02114-9569
MERKLE INC                               7001 COLUMBIA GATEWAY DR COLUMBIA MD 21046
MEYERS, RODBELL & ROSENBAUM, P.A.        (COUNSEL TO PRINCE GEORGE'S COUNTY, MARYLAND) ATTN: NICOLE C. KENWORTHY 6801
                                         KENILWORTH AVENUE, SUITE 400 RIVERDALE MD 20737-1385
MICHIGAN DEPARTMENT OF TREASURY          PO BOX 30324 LANSING MI 48909-7824
MINNESOTA DEPARTMENT OF REVENUE          600 N ROBERT ST. N SAINT PAUL MN 55101
MISSISSIPPI STATE TAX COMMISSION         500 CLINTON CTR DR CLINTON MS 39056
MONTANTA DEPARTMENT OF REVENUE           PO BOX 5805 HELENA MT 59604-5805
NEVADA DEPT OF TAXATION                  3850 ARROWHEAD DRIVE 2ND FLOOR CARSON CITY NV 89706
NEW HAMPSHIRE DEPT OF REVENUE ADMIN      109 PLEASANT ST CONCORD NH 03301
NEW JERSEY DEPT OF THE TREASURY          DIVISION OF ADMINISTRATION PO BOX 211 TRENTON NJ 08625-0211
NEW MEXICO TAXATION & REVENUE DEPT       1200 S ST FRANCIS DRIVE SANTA FE NM 87504-0630
NEW YORK DEPT. OF FINANCE                CORRESPONDENCE UNIT ONE CENTRE ST, 22ND FL NEW YORK NY 10007
NORTH CAROLINA DEPT OF REVENUE           501 N WILMINGTON ST RALEIGH NC 27604
OFFICE OF SEC. OF STATE OF ALASKA        HON. NANCY DAHLSTROM LIEUTENANT GOVERNOR -E PO BOX 110015 JUNEAU AK 99811-0001
OFFICE OF SEC. OF STATE OF ARIZONA       HON. ADRIAN FONTES 1700 W WASHINGTON ST, FL 7 PHOENIX AZ 85007-2808
OFFICE OF SEC. OF STATE OF ARKANSAS      HON. JOHN THURSTON STATE CAPITOL 500 WOODLANE ST, STE 256 LITTLE ROCK AR 72201
OFFICE OF SEC. OF STATE OF CALIFORNIA    HON. SHIRELY N WEBER 1500 11TH ST SACRAMENTO CA 95814
OFFICE OF SEC. OF STATE OF CT.           HON. STEPHANIE THOMAS PO BOX 150470 STE 1000 HARTFORD CT 06115-0470
OFFICE OF SEC. OF STATE OF DELAWARE      HON. JEFFREY W. BULLOCK 820 N FRENCH ST, 10TH FL WILMINGTON DE 19801
OFFICE OF SEC. OF STATE OF DELAWARE      HON. JEFFREY W. BULLOCK 401 FEDERAL ST DOVER DE 19901
OFFICE OF SEC. OF STATE OF GEORGIA       HON. BRAD RAFFENSPERGER 214 STATE CAPITOL ATLANTA GA 30334
OFFICE OF SEC. OF STATE OF HAWAII        HON. SYLVIA LUKE LIEUTENANT GOVERNOR -E STATE CAPITOL HONOLULU HI 96813
OFFICE OF SEC. OF STATE OF IDAHO         HON. PHIL MCGRANE 450 N 4TH ST BOISE ID 83702
OFFICE OF SEC. OF STATE OF ILLINOIS      HON. ALEXI GIANNOULIAS 213 STATE CAPITOL SPRINGFIELD IL 62756


Epiq Corporate Restructuring, LLC                                                                         Page 1 OF 3
                                                   RED LOBSTER
                    Case 6:24-bk-02486-GER          Doc 1129 Filed 09/05/24
                                                    Service List
                                                                                       Page 8 of 41

Claim Name                              Address Information
OFFICE OF SEC. OF STATE OF INDIANA      HON. DIEGO MORALES 200 W WASHINGTON ST, ROOM 201 INDIANAPOLIS IN 46204
OFFICE OF SEC. OF STATE OF KENTUCKY     HON. MICHAEL G ADAMS 700 CAPITAL AVE, STE 152 FRANKFORT KY 40601
OFFICE OF SEC. OF STATE OF LOUISIANA    HON. R. KYLE ARDOIN PO BOX 94125 BATON ROUGE LA 70804-9125
OFFICE OF SEC. OF STATE OF MARYLAND     HON. SUSAN C LEE 16 FRANCIS ST ANNAPOLIS MD 21401
OFFICE OF SEC. OF STATE OF MICHIGAN     HON. JOCELYN BENSON 3315 E MICHIGAN AVE LANSING MI 48912
OFFICE OF SEC. OF STATE OF MS.          HON. MICHAEL WATSON 125 S CONGRESS ST JACKSON MS 39201
OFFICE OF SEC. OF STATE OF NEBRASKA     HON. ROBERT B EVNEN PO BOX 94608 LINCOLN NE 68509-4608
OFFICE OF SEC. OF STATE OF NEW JERSEY   HON. SHEILA Y. OLIVER LIEUTENANT GOVERNOR -E PO BOX 001 TRENTON NJ 08625
OFFICE OF SEC. OF STATE OF NORTH DAKOTA HON. MICHAEL HOWE 600 E BLVD AVE DEPT 108 BISMARCK ND 58505-0500
OFFICE OF SEC. OF STATE OF OHIO         HON. FRANK LAROSE 22 N FOURTH ST, 16TH FL COLUMBUS OH 43215
OFFICE OF SEC. OF STATE OF OREGON       HON. SHEMIA FAGAN 255 CAPITAL ST NE STE 151 SALEM OR 97310-0722
OFFICE OF SEC. OF STATE OF PENNSYLVANIA HON. AL SCHMIDT 302 N OFFICE BLDG 401 N ST HARRISBURG PA 17120
OFFICE OF SEC. OF STATE OF S.C.         HON. MARK HAMMOND 1205 PENDLETON ST, STE 525 COLUMBIA SC 29201
OFFICE OF SEC. OF STATE OF S.D.         HON. MONAE L JOHNSON 500 E CAPITOL AVE, STE 204 PIERRE SD 57501-5070
OFFICE OF SEC. OF STATE OF TEXAS        HON. JANE NELSON 1100 CONGRESS CAPITOL BLDG, ROOM 1E.8 AUSTIN TX 78701
OFFICE OF SEC. OF STATE OF UTAH         HON. DEIDRE HENDERSON 350 N STATE ST, STE 220 PO BOX 142325 SALT LAKE CITY UT
                                        84114-2325
OFFICE OF SEC. OF STATE OF VERMONT      HON. COPELAND HANZAS 128 STATE ST MONTPELIER VT 05633-1101
OFFICE OF SEC. OF STATE OF VIRGINIA     HON. KAY COLE JAMES PO BOX 1475 RICHMOND VA 23218
OFFICE OF SEC. OF STATE OF W.V.         HON. MAC WARNER STATE CAPITAL BUILDING CHARLESTON WV 25305-0770
OHIO DEPARTMENT OF TAXATION             PO BOX 182131 COLUMBUS OH 43218-2131
OKLAHOMA TAX COMMISSION                 300 N BROADWAY AVE OKLAHOMA CITY OK 73102
OP OAKHURST REALTY LLC                  ATTN: PRIYANK SINGHAL, LANDLORD 46 FLEMMING DR HILLSBOROUGH NJ 08844-5281
PREECHA NARKSUWAN                       ADDRESS ON FILE
PREMIER PRODUCE CENTRAL FLORIDA INC     ATTN: DEMETRIOS CHLEBOGIANNIS, PRESIDENT PREMIER PRODUCE CENTRAL FLORIDA INC
                                        PO BOX 7829 CAROL STREAM IL 60197-7829
RHODE ISLAND DIVISION OF TAXATION       ONE CAPITOL HILL PROVIDENCE RI 02908-5800
ROGER B. HANDBERG                       US ATTORNEYS OFFICE 300 N HOGAN ST, STE 700 JACKSONVILLE FL 32202
ROGER B. HANDBERG                       US ATTORNEYS OFFICE 400 W WASHINGTON ST, STE 3100 ORLANDO FL 32801
ROGER B. HANDBERG                       US ATTORNEYS OFFICE 400 N TAMPA ST, STE 3200 TAMPA FL 33602
ROGER B. HANDBERG                       US ATTORNEYS OFFICE 35 SE 1ST AVE, STE 300 OCALA FL 34471
ROGER B. HANDBERG                       US ATTORNEYS OFFICE 2110 FIRST ST, STE 3-137 FT. MYERS FL 33901
ROWORTH ENTERPRISES LLC                 ATTN: MELINDA ROWORTH, MEMBER 99-129 HOLO PLACE AIEA HI 96701
SECURITIES AND EXCHANGE COMMISSION      SEC HEADQUARTERS 100 F STREET, NE WASHINGTON DC 20549
SOUTH CAROLINA DEPT OF REVENUE          300A OUTLET POINTE BOULEVARD COLUMBIA SC 29210
SOUTH MIDTOWN PROPERTIES LLC            ATTN: WEIYE LIN, MANAGER 1155 SWEETWATER DRIVE RENO NV 89509-5250
STATE OF ALABAMA ATTORNEY GENERAL       ATTN: STEVE MARSHALL 501 WASHINGTON AVE MONTGOMERY AL 36104
STATE OF CALIFORNIA ATTORNEY GENERAL    CONSUMER PROTECTION SECTION ATTN: BANKRUPTCY NOTICES 455 GOLDEN GATE AVE.,
                                        STE. 11000 SAN FRANCISCO CA 94102-7004
STATE OF CALIFORNIA ATTORNEY GENERAL    ATTN: ROB BONTA 1300 'I' ST SACRAMENTO CA 95814-2919
STATE OF FLORIDA ATTORNEY GENERAL       ATTN: ASHLEY MOODY PL 01 THE CAPITOL TALLAHASSEE FL 32399-1050
STATE OF ILLINOIS ATTORNEY GENERAL      ATTN: KWAME RAOUL 100 W RANDOLPH ST CHICAGO IL 60601
STATE OF INDIANA ATTORNEY GENERAL       ATTN: TODD ROKITA INDIANA GOVERNMENT CENTER SOUTH 302 W WASHINGTON ST, 5TH FL
                                        INDIANAPOLIS IN 46204
STATE OF KANSAS ATTORNEY GENERAL        ATTN: KRIS W. KOBACH 120 SW 10TH AVE, 2ND FL TOPEKA KS 66612
STATE OF KENTUCKY ATTORNEY GENERAL      ATTN: DANIEL CAMERON 700 CAPITOL AVE, STE 118 FRANKFORT KY 40601-3449
STATE OF MASSACHUSETTS ATTORNEY GENERAL ATTN: ANDREA JOY CAMPBELL 1 ASHBURTON PLACE, 20TH FL BOSTON MA 02108-1518
STATE OF MINNESOTA ATTORNEY GENERAL     ATTN: KEITH ELLISON 445 MINNESOTA ST STE 1400 ST. PAUL MN 55101-2131
STATE OF MISSISSIPPI ATTORNEY GENERAL   ATTN: LYNN FITCH PO BOX 220 JACKSON MS 39205
STATE OF MONTANA ATTORNEY GENERAL       ATTN: AUSTIN KNUDSEN JUSTICE BLDG 215 N SANDERS ST HELENA MT 59601


Epiq Corporate Restructuring, LLC                                                                           Page 2 OF 3
                                                    RED LOBSTER
                       Case 6:24-bk-02486-GER        Doc 1129 Filed 09/05/24
                                                     Service List
                                                                                      Page 9 of 41

Claim Name                               Address Information
STATE OF NEW JERSEY ATTORNEY GENERAL     ATTN: MATTHEW J. PLATKIN RJ HUGHES JUSTICE COMPLEX 25 MARKET ST - PO BOX 080
                                         TRENTON NJ 08625-0080
STATE OF NEW MEXICO ATTORNEY GENERAL     ATTN: RAUL TORREZ 408 GALISTEO ST VILLAGRA BLDG SANTA FE NM 87501
STATE OF NEW YORK ATTORNEY GENERAL       ATTN: LETITIA A. JAMES DEPT. OF LAW THE CAPITOL, 2ND FL ALBANY NY 12224-0341
STATE OF NORTH CAROLINA ATTORNEY         ATTN: JOSH STEIN 9001 MAIL SERVICE CTR RALEIGH NC 27699-9001
GENERAL
STATE OF TEXAS ATTORNEY GENERAL          ATTN: KEN PAXTON 300 W 15TH ST AUSTIN TX 78701
STATE OF VIRGINIA ATTORNEY GENERAL       ATTN: JASON MIYARES 202 N NINTH ST RICHMOND VA 23219
STATE OF WYOMING ATTORNEY GENERAL        ATTN: BRIDGET HILL 109 STATE CAPITAL 200 W. 24TH ST CHEYENNE WY 82002
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS     LYNDON B JOHNSON STATE OFFICE BLDG 111 E 17TH ST AUSTIN TX 78774
THOMPSON, O'BRIEN, KAPPLER & NASUTI,     (COUNSEL TO MANSFIELD OIL COMPANY) ATTN: MICHAEL B. PUGH 2 SUN COURT, SUITE
P.C.                                     400 PEACHTREE CORNERS GA 30092
UNITED STATES TREASURY                   OFFICE OF THE TREASURER 1500 PENNSYLVANIA AVENUE, NW ROOM 2134 WASHINGTON DC
                                         20220
VERMONT DEPT OF TAXES                    133 STATE ST MONTPELIER VT 05602
VIRGINIA DEPT OF TAXATION                1957 WESTMORELAND STREET RICHMOND VA 23230
WELLS FARGO BANK, NA                     AS ADMINISTRATIVE AGENT 1800 CENTURY PARK E, STE 1100 LOS ANGELES CA 90067




                                  Total Creditor count 106




Epiq Corporate Restructuring, LLC                                                                            Page 3 OF 3
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 10 of 41




                         EXHIBIT B
      Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 11 of 41

         RED LOBSTER MANAGEMENT LLC - Case No. 6:24-bk-02486-GER
                     First Class Mail Additional Party List
RAVI PATRICK RATNALA
PO BOX 430973
HOUSTON, TX 77243-0973




                                Page 1 of 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 12 of 41




                         EXHIBIT C
                                             RED LOBSTER
                   Case 6:24-bk-02486-GER    Doc 1129 Filed 09/05/24
                                              Service List
                                                                             Page 13 of 41

Claim Name                        Address Information
KATHRYN HESSLER, ET AL            C/O KINGSLEY & KINGSLEY APC ATTN DARREN M COHEN, ESQ 16133 VENTURA BLVD, STE
                                  1200 ENCINO CA 91436




                           Total Creditor count 1




Epiq Corporate Restructuring, LLC                                                                  Page 1 OF 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 14 of 41




                         EXHIBIT D
                                                   RED LOBSTER
                   Case 6:24-bk-02486-GER          Doc 1129 Filed 09/05/24
                                                    Service List
                                                                                   Page 15 of 41

Claim Name                              Address Information
SILVERBEL LANDSCAPING & SNOWPLOWING LTD 9A GARDEN AVE BRAMPTON ON L6X 1M4 CANADA




                               Total Creditor count 1




Epiq Corporate Restructuring, LLC                                                                  Page 1 OF 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 16 of 41




                         EXHIBIT E
                                                RED LOBSTER
                      Case 6:24-bk-02486-GER    Doc 1129 Filed 09/05/24
                                                 Service List
                                                                                Page 17 of 41

Claim Name                           Address Information
ADJ LANDSCAPING SERVICE              ATTN AGUSTIN ALTAMIRANO 2791 SW 26TH ST MIAMI FL 33133
CITYWIDE WINDOW CLEANING             ATTN MICHAEL SMITH 643 STONEY CREEK CIR CORONA CA 92879
CLASSY CLEANING                      13660 COULTHART RD CHESTERVILLE ON K0C 1H0 CANADA
SHELTON'S WATER INC                  ATTN SHERYL FRANK 2708 E RANDOL MILL RD ARLINGTON TX 76011
WHITLOCKS PRESSURE WASH              PO BOX 391 5649 INDUSTRIAL AVE S CONNERSVILLE IN 47331




                              Total Creditor count 5




Epiq Corporate Restructuring, LLC                                                                 Page 1 OF 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 18 of 41




                         EXHIBIT F
                                                    RED LOBSTER
                      Case 6:24-bk-02486-GER        Doc 1129 Filed 09/05/24
                                                     Service List
                                                                                       Page 19 of 41

Claim Name                               Address Information
AIRSHIP GROUP INC                        1225 W BURNSIDE ST, STE 401 PORTLAND OR 97209
ALL OVER LOCKSMITH & GARAGE DOORS INC    22335 MOBILE ST WOODLAND HILLS CA 91303
ARROWHEAD OUTDOOR SERVICES LLC           2662 CARRIE LN WOOSTER OH 44691
CARD FULFILLMENT SERVICES                ATTN ELIZABETH WOOD 5601 E RIVER RD FRIDLEY MN 55432
COPPER MOUNTAIN PLUMBING                 103 W 12TH ST YUMA AZ 85364
CORPORATE RELOCATION INTERNATIONAL       301 INTERNATIONAL PKWY, STE 410 FLOWER MOUND TX 75022
EAB GROUP INC                            1 E NORTHWEST HWY, STE 204 CITY OF PALATINE IL 60067
EAB GROUP INC                            ATTN EDDIE BRACHMAN 508 KENNETH CIR CITY OF ELGIN IL 60120
GOLDEN-TECH INTERNATIONAL INC            11120 NE 2ND ST, STE 200 BELLEVUE WA 98004
GOOLDY & SONS INC                        926 W 17TH ST BLOOMINGTON IN 47404
HARVARD MAINTENANCE INC                  201 S BISCAYNE BLVD, 24TH FL MIAMI FL 33131
HENTHORN PLUMBING                        ATTN MATTHEW HENTHORN PO BOX 610086 REDWOOD CITY CA 94061
INTEGRATIVE ELECTRIC                     3153 MADDIE CT GRAND JUNCTION CO 81503
J & M MAINTENANCE AND REPAIRS CORP       13105 SW 108TH PL MIAMI FL 33176
JAY'S LAWN & LANDSCAPE SERVICES          PO BOX 137 OXFORD MI 48371
JLS BUILDING SERVICES LLC                930 E WATER ST CHILLICOTHE OH 45601
LDI COMMERCIAL KITCHEN REPAIR LTD        ATTN TAMMY LANG 9 - 3600 21 STREET NE CALGARY AB T2E 6V6 CANADA
LDI COMMERCIAL KITCHEN REPAIR LTD        12004 149 STREET NW EDMONTON AB T5V 1P2 CANADA
LUNDS HANDYMAN SERVICES                  ATTN STEVEN LUND 10662 KARSTON AVE NE ALBERTVILLE MN 55301
MA LANDSCAPING SERVICE LLC               324 S HORNE, #2015 MESA AZ 85204
MORNING DEW LANDSCAPING INC              2684 E HUNTINGTON DR FLAGSTAFF AZ 86004
OMAHA PUBLIC POWER DISTRICT              PO BOX 3995 OMAHA NE 68103
PACIFIC REFRIGERATION OPERATING LLC      PO BOX 1953 TACOMA WA 98401
PUGET SOUND ENERGY                       ATTN VENDOR COLLECTIONS BOT-01O PO BOX 97034 BELLEVUE WA 98009-7034
ROTO ROOTER SERVICES COMPANY             283 D CAHABA VALLEY PKWY N PELHAM AL 35124
ROTO ROOTER SERVICES COMPANY             4615 TOWN CENTER DR, STE 100 COLORADO SPRINGS CO 80916
ROYAL ELECTRICAL SERVICES INC            800 W 2ND ST PUEBLO CO 81003
SEELBACH DESIGN INC                      2087 OTTER WAY PALM HARBOR FL 34685
VALLIER PROPERTY MAINTENANCE INC         20883 REBECCA RD THORNDALE ON N0M 2P0 CANADA
YOUNG DEVELOPMENT LLC                    2643 DUCK LAKE RD WHITEHALL MI 49461




                                  Total Creditor count 30




Epiq Corporate Restructuring, LLC                                                                          Page 1 OF 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 20 of 41




                         EXHIBIT G
                                                RED LOBSTER
                      Case 6:24-bk-02486-GER    Doc 1129 Filed 09/05/24
                                                 Service List
                                                                                Page 21 of 41

Claim Name                           Address Information
1ST CALL MAINTENANCE LTD             7319 WHALEN DR REGINA SK S4X 3W8 CANADA
SAN BERNARDINO COUNTY                ATTN OFFICE OF THE TAX COLLECTOR 248 W HOSPITALITY LN, 1ST FL SAN BERNARDINO
                                     CA 92415
SAN BERNARDINO COUNTY                ATTN OFFICE OF THE TAX COLLECTOR 268 W HOSPITALITY LN, 1ST FL SAN BERNARDINO
                                     CA 92415
VESTIS SERVICES LLC                  F/K/A ARAMARK C/O HAWLEY TROXELL ENNIS & HAWLEY LLP ATTN DEVIN G BRAY, PO BOX
                                     1617 BOISE ID 83701-1617
VICTORIA COUNTY                      C/O LINEBARGER GOGGAN BLAIR & SAMPSON PO BOX 17428 AUSTIN TX 78760-7428




                              Total Creditor count 5




Epiq Corporate Restructuring, LLC                                                                     Page 1 OF 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 22 of 41




                         EXHIBIT H
                                                    RED LOBSTER
                   Case 6:24-bk-02486-GER           Doc 1129 Filed 09/05/24
                                                     Service List
                                                                                       Page 23 of 41

Claim Name                               Address Information
1ST CALL MAINTENANCE LTD                 ATTN AARON BURBACK 7319 WHELAN DR REGINA SK S4X 3W8 CANADA
JUDSON'S INC                             ATTN ACCT RECEIVABLES 1390 13TH ST SE PO BOX 12669 SALEM OR 97309-0669
LEON, EMMANUEL                           ADDRESS ON FILE
NORTH COUNTRY PROPERTY MAINTENANCE INC   ATTN PATRICK CORRADO 3 KNICELY RD BARRIE ON L4N 6T8 CANADA
NORTH COUNTRY PROPERTY MAINTENANCE INC   1945 LOCKHART RD INNISFIL ON L9S 3G1 CANADA
WESTON MECHANICAL LLC                    6990 N 1000 E LAFAYETTE IN 47905




                               Total Creditor count 6




Epiq Corporate Restructuring, LLC                                                                         Page 1 OF 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 24 of 41




                         EXHIBIT I
                                                  RED LOBSTER
                   Case 6:24-bk-02486-GER         Doc 1129 Filed 09/05/24
                                                   Service List
                                                                            Page 25 of 41

Claim Name                             Address Information
BRACHMAN, EDWARD                       ADDRESS ON FILE
BRACHMAN, EDWARD                       ADDRESS ON FILE
BRACHMAN, EDWARD                       ADDRESS ON FILE
LEORA FRIEDMAN AND/OR EDDIE BRACHMAN   ADDRESS ON FILE




                               Total Creditor count 4




Epiq Corporate Restructuring, LLC                                                           Page 1 OF 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 26 of 41




                         EXHIBIT J
       Case 6:24-bk-02486-GER    Doc 1129    Filed 09/05/24   Page 27 of 41

          RED LOBSTER MANAGEMENT LLC - Case No. 6:24-bk-02486-GER
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HOUSTON, TEXAS 77010-3039




                                   Page 1 of 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 28 of 41




                         EXHIBIT K
         Case 6:24-bk-02486-GER            Doc 1129     Filed 09/05/24   Page 29 of 41

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                                              Page 1 of 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 30 of 41




                         EXHIBIT L
      Case 6:24-bk-02486-GER   Doc 1129        Filed 09/05/24   Page 31 of 41

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                                 Page 1 of 7
      Case 6:24-bk-02486-GER   Doc 1129          Filed 09/05/24   Page 32 of 41

        RED LOBSTER MANAGEMENT LLC - Case No. 6:24-bk-02486-GER
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                                   Page 2 of 7
      Case 6:24-bk-02486-GER   Doc 1129        Filed 09/05/24   Page 33 of 41

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                                 Page 3 of 7
      Case 6:24-bk-02486-GER   Doc 1129        Filed 09/05/24   Page 34 of 41

        RED LOBSTER MANAGEMENT LLC - Case No. 6:24-bk-02486-GER
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                                 Page 4 of 7
     Case 6:24-bk-02486-GER    Doc 1129        Filed 09/05/24   Page 35 of 41

        RED LOBSTER MANAGEMENT LLC - Case No. 6:24-bk-02486-GER
                     Electronic Mail Master Service List
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                                 Page 5 of 7
     Case 6:24-bk-02486-GER   Doc 1129        Filed 09/05/24   Page 36 of 41

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                                Page 6 of 7
      Case 6:24-bk-02486-GER   Doc 1129            Filed 09/05/24   Page 37 of 41

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                                     Page 7 of 7
Case 6:24-bk-02486-GER    Doc 1129   Filed 09/05/24   Page 38 of 41




                         EXHIBIT M
      Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 39 of 41

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                                Page 1 of 1
Case 6:24-bk-02486-GER   Doc 1129   Filed 09/05/24   Page 40 of 41




                         EXHIBIT N
       Case 6:24-bk-02486-GER       Doc 1129   Filed 09/05/24   Page 41 of 41

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                                     Page 1 of 1
